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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         MARISA ANN BELLECI,
                                  10                                                         Case No. 21-cv-09630-RS
                                                        Plaintiff,
                                  11
                                                 v.                                          ORDER OF FINAL DISMISSAL
                                  12
Northern District of California
 United States District Court




                                         RICK MROCZEK, et al.,
                                  13
                                                        Defendants.
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                                  16          The order granting defendants’ motion to dismiss provided: “Any amended complaint must

                                  17   be filed by July 29, 2022. In the event [plaintiff] does not file an amended complaint or otherwise

                                  18   respond to this order, a final dismissal will be entered without further notice and the case will be

                                  19   closed.” Plaintiff has not filed an amended complaint or other response, and the time for doing so

                                  20   has expired. The action is dismissed, and the Clerk shall close the file.

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                                  22   IT IS SO ORDERED.

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                                  24   Dated: August 30, 2022

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                                                                                        RICHARD SEEBORG
                                  26                                                    Chief United States District Judge
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